


















NUMBER 13-07-00611-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


____________________________________________________________

							

MELISSA YBARRA,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

____________________________________________________________


On Appeal from the 117th District Court of Nueces County, Texas.


____________________________________________________________


MEMORANDUM OPINION



Before Justices Yañez, Rodriguez, and Vela 


Memorandum Opinion Per Curiam



	Appellant, Melissa Ybarra, by and through her attorney, has filed a motion to dismiss
her appeal because she no longer desires to prosecute it.  See Tex. R. App. P. 42.2(a). 
Without passing on the merits of the case, we grant the motion to dismiss pursuant to
Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal.  Having dismissed the
appeal at appellant's request, no motion for rehearing will be entertained, and our mandate
will issue forthwith.

								PER CURIAM


Do not publish.  See Tex. R. App. P. 47.2(b).  

Memorandum Opinion delivered and filed

this 13th day of December, 2007.


